         Case 2:22-cv-01807-TSZ Document 48 Filed 11/02/23 Page 1 of 3




1
                                                           Honorable Thomas S. Zilly
2

3
                            UNITED STATES DISTRICT COURT
4                          WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
5

6
      APEXART CURATORIAL PROGRAM,                      CASE NO.
7     INC.,                                            2:22-cv-01807-TSZ
8                                   Plaintiff,
9           v.
                                                       NOTICE OF UNAVAILABILITY
10    BAYSIDE ROLLERS LLC, ABIGAIL                     OF COUNSEL
      CARSWELL,
11

12                                  Defendants.
13

14
     TO: CLERK OF THE COURT
15   AND TO: ALL COUNSEL OF RECORD
16
            NOTICE IS HEREBY GIVEN, that the undersigned, counsel for Defendants will
17

18   be unavailable during the following dates:

19      •   November 06 , 2023, through November 13, 2023
        •   November 23, 2023, through November 27, 2023
20
        •   December 25, 2023, through January 02, 2024
21
            Please do not set any trial, dispositive motions, hearings, or other matters requiring
22
     a response or appearance by the undersigned during the designated times of unavailability.
23

24

25    NOTICE OF UNAVAILABILITY
      OF COUNSEL - Page 1
                                                                           OJALA LAW INC PS
26                                                                                PO BOX 211
                                                                       SNOHOMISH, WASHINGTON 98291
                                                                    PHONE (360) 568-9825 peter@ojalalaw.com
27
       Case 2:22-cv-01807-TSZ Document 48 Filed 11/02/23 Page 2 of 3




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2        DATED this 2nd day of November, 2023
3

4

5              By:_s/ Peter Ojala____________
               Peter C. Ojala, WSBA#42163
6

7
               By: s/ Jordan Kostelyk__________
8              Jordan D. Kostelyk, WSBA#59968

9              OJALA LAW INC., P.S.
               P.O. Box 211
10             Snohomish, WA 98291
11             Tel: (360) 568-9825
               Email: peter@ojalalaw.com
12             jordan@ojalalaw.com
               Attorneys for Defendants.
13

14

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25   NOTICE OF UNAVAILABILITY
     OF COUNSEL - Page 2
                                                          OJALA LAW INC PS
26                                                               PO BOX 211
                                                      SNOHOMISH, WASHINGTON 98291
                                                   PHONE (360) 568-9825 peter@ojalalaw.com
27
         Case 2:22-cv-01807-TSZ Document 48 Filed 11/02/23 Page 3 of 3




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2                            CERTIFICATE OF MAILING/SERVICE
3
     I hereby certify that on November 2, 2023, I electronically filed the foregoing with the Clerk
4
     of the Court using the CM/ECF system which will send notification of such filing to the
5
     following:
6

7     John Bender                                         [ ] U.S. Mail
      Emily Parsons                                       [ ] Legal Messenger
8     Corr Cronin LLP                                     [ ] Overnight Delivery
      1015 Second Avenue, Floor 10                        [X] By Email:
9     Seattle, Washington 98104                           [X] E-Service
      Email: jbender@corrcronin.com,
10    eparsons@corrcronin.com,

11

12

13

14

15

16

17                                                  ____s/ Jordan Kostelyk __________
18                                                   Jordan D. Kostelyk

19

20

21

22

23

24

25    NOTICE OF UNAVAILABILITY
      OF COUNSEL - Page 3
                                                                            OJALA LAW INC PS
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27
